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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

GUN OWNERS OF AMERICA, INC., et al.,            )
                     Plaintiffs,                )
                                                )      No. 1:18-cv-1429
-v-                                             )
                                                )      Honorable Paul L. Maloney
MATTHEW WHITAKER, et al.,                       )
                     Defendants.                )
                                                )

                      ORDER SUBSTITUTING DEFENDANT

      William P. Barr has been confirmed by the United States Senate as the Attorney

General for the United States of America. As permitted by Rule 25(d) of the Federal Rules

of Civil Procedure, William P. Barr is substituted as the named defendant in place of

Matthew Whitaker, who was sued in his official capacity as Acting Attorney General.

      IT IS SO ORDERED.

Date: March 13, 2019                                /s/ Paul L. Maloney
                                                        Paul L. Maloney
                                                        United States District Judge
